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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ANIBAL RODRIGUEZ, et al.,                           Case No. 20-cv-04688-RS (AGT)
                                                        Plaintiffs,
                                   8
                                                                                             DISCOVERY ORDER
                                                 v.
                                   9
                                                                                             Re: Dkt. No. 199
                                  10     GOOGLE LLC,
                                                        Defendant.
                                  11

                                  12          The named plaintiffs’ proposal for the timing of their depositions, i.e., that all nine deposi-
Northern District of California
 United States District Court




                                  13   tions will be completed by March 30, 2022, is reasonable. Google’s request to compel the named

                                  14   plaintiffs to sit for depositions by February 15, 2022, is denied.

                                  15          IT IS SO ORDERED.

                                  16   Dated: January 12, 2022

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                                                                                                     ALEX G. TSE
                                  19                                                                 United States Magistrate Judge
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